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SYREETA LEWIS ' ` * IN THE
4408 Bowleys Ln. Apt. 2B _ '
Ba]ti`more, MD 21206 ` * CIRCUIT COURT
Plainri_n“, * oF MARYLAND
Vs.' ' ` ' d * F()i{
i>oRTFoLIo REcovERY ' `* BAL'I`IMORE c'rrY
ASSOCLATES, LLC
1013 Centre‘Rd ' ` * Case No.
v‘\#‘\?'illningto»n, DE 19805
Serve on: _

National Registered Agents,

Inc. ofMaryland '. 7 *
351 W Camden_ St.- _ _
Baltimore, MD 21201 'F
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Now comes SYREETA LEWIS_, (“Plaintiff”), by and through her attorneys,

E. David Hosldns, Max F. Brauer and The Law Ofiices of E. David Ho_skins,- LLC, -

_and _for her Complaint against Defendant, PORTFOLIO RECOVERY

ASSOCIATES, LLC alleges and states as follows:
BEE!.MLEM§IAIEMEM
1'. d Thjs is an action for actual and statutory damages for violations of
the Fair Debt Co]lecti_on Prac'ticés Act, 15 U.S.C. § 1692, et seq. (h'ereinafter
“FDCPA”); the Maryland Consu.mer Debt Co]lect`lon Act, Md. Codo Ann., Corn.

Law, § 14-201~,F et seq. '(h_ereinafter “MCDCA”); and the Maryland Consumef

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Protection Act, Md. Code Ann., Com. Law, § 13-101, et seq. -(hereinafter “MCPA”).'
2. Plaintiff SY'REETA LEW'IS alleges that the collection practices of_
Defendant violates the FDCPA, MCDCA and MCPA in its illegal efforts to collect a
consumer debt.
3. _ The FDCPA regulates the behavior of collection agencies attempting
to collect-adebt on behalf of another. In enacting the FDCPA, the"United States

Congress found that “[t]here is abundant evidence of the use of abusive,

_deceptive, and unfair debt collection practices by many debt collectors,” which '

“contri'bute to the number of personal bankruptcies, marital instability, to the

loss of jobs, and to invasions of individual privacy. ”15 U. S. C. § 1692(3). Congress

also found that existing laws and procedures for redressing debt collection
activities were inadequate to protect consumers 15 U.S.C. § 1692__(b).

4. Congress enacted the FDCPA to eliminate abusive debt collection
practices by debt collectors, to ensure that those debt collectors who refrain from
using abusive debt collection practices are not competitiver disadvantaged and
to promote uniform State action to protect consumers_against debt collection
abuses. 15 U.S.C. § 1692{e).

5. The FDCPA is a comprehensive statute that prohibits a catalog of
activities in connection with the collection of debts by third parties. The _FDCPA
imposes civil liability on any person or entity that violates its provisions and
establishes general standards of debt collector conduct, defines abuse, and

provides for specific consumer rights. 15 U.S.C. § 1692]<. The operative provisions

 

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of the FDCPA declare certain rights to be provided to or ciamed'by debtor-ap

forbid deceitful and misleading practices, prohibit harassing and abusive tactics,

` and proscribe unfair or unconscionable conduct, both generally and in a specific

list of disapproved practices.

6. The lFDCPA is a strict liability statute that provides for actual or
Statntory damages upon the showing of- one violation The F_ourth Circuit and-
other federal courts have held that whether a debt collector’s conduct violates the
FD_CPA should be judged from the standpoint of the “least sophisticated
consumer.” United States v. Nat’l Fin. Services, Inc., 98 F.3d 131(4th Cir. 19§6);

Clomon v. Jack$on, 9_88 F.2d 1314 [2c_l Cir. 1993)_; Jeter v. Credit Bur'eau, lnc.,

' 760 F.2d 1168 (11th Cir. 1985); Graziario v. Ham'son, 950 F.2cl 107 (3rd Cir.

1901); Su)anson v_. Southern Oregon Credit Serv., Inc_., 869 F.2d 1222 (9th Cir. _

1988). The purpose of the least-sophisticated consumer standard “is to ensure

that the FDCPA protects all consumers, the gullible as well as the shrewd.*’ Nat’l j

Fin. Seruices, Inc., 98 F.3d at 136 (quoting Clomon v. Jaclcsoii, 988 F;2d at 1318).

7. The FDCPA is a remedial statute that is construed liberally in favor d

' of the debtor. See, e.g., Garcia-Contreras v. Brock & Scott, PLLC, 775 F.Supp.2d

808 (M.D_.N.C. 2011); Sprinke z`). SB&C, Ltd., 472 F. Supp. 2d 1235 (W.D. Wash.
2006); Cl'hrk u. Capi'tal Credit & Collecti'on Seri)i`ces, Inc., 460 F.3d 1162 (9th Cir.
2005); richman v._aiddle, 305 nga 1107 nom cir. 2002). n

8. To prohibit abuses by debt collectors, the FDCPA, at 15 U.S.C. §

1692e, provides that a debt collector may not use “any false deceptive, or

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misleading representation or means in connection with the collection of any
debt.” In addition, the FDCPA at 15 U.S`.C. § 1692f provides that a debt collector '
may not use unfair or unconscionable means to collect or attempt to collect any

debt. Fina]ly, the FDCPA at 15 U.S.C. § 1692c(a)(2) prohibits a_ debt collector

‘ from communication with a consumer the 'deb_t collector knows is represented by

an attorney.

9. The MCDCA prohibits debt collectors from utilizing threatening or-
underhanded methods in collecting or attempting to collect a delinquent debt.
Md. Code Ann., Com. Law §§ 1`4- -201 to 14- 204. Speciiically, the MCDCA states
that a “person collecting or attempting to collect an alleged debt arising out of a n
consumer transaction,” id. § 14»201(b}, may not “[c]laim, attempt, or threaten to
enforce a right with knowledge that the right does not eidst.” Id. § 14-202(8).

10. 'l‘he Maryl_and Consumer Prote.ction Act (“MCPA”) prohibits “unfair ‘_
or deceptive trade practices,” Md. Code Ann, Com. Law § 13-301, and expressly
designates as “unfair or deceptive trade practices” those that constitute any
violation of the MCDCJL Id. § 13-301(1_4)(iii).

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11. The Circuit Court of Maryland has subject matter jurisdiction over l
the MCDCA and MCP_A claims pursuant to Md. Code Ann., Cts. & Jud_. Proc. §
1-501. The Circuit Cou`rt of Maryland has subject matter jurisdiction over claims
brought under the FDCPA pursuant to 15 U.S.C. § 16_92k(d) which provides that

anaction to enforce may b_e brought in federal court as well in any state court of

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competent jurisdiction

12. The Circuit Court of Mar_yland has personal jurisdiction over each
De_fendant pursuant to Md. Code Ann., Ct_s. & .lud. Proc. §§ 6-102; 6-103[b)(1)

and (2). PORTFOLIO RECOVERY ASSOCIATES, LLC can be served with process

in Maryland_ and regularly transacts business iii Balti`more City, Maryland as part
of its debt collecting activities _As alleged herein, PORTFO[.IO RE_COVERY

ASSOCIATES, LLC has caused tortious injury in the State of Maryland by acts cr

omissions relating to its debt collecting activities that have occurred in the State .

of Maryland.

131. The Circuit Court for Baltimore City is the proper venue pursuant to
Md. Code Ann, Cts. & Jud. Proc. § 6-201(a) because PORTFOLIO RECOVERY
ASSOCIATES, LLC carries on regular business in Baltimore City. d

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14. 7 .Plaintiff, SYREE'I'A LE_WIS, is an individual who was at all relevant
ames reetaingm seismere ciry, Merylena. d _

15. SYREETA LEWIS is a “consurner" as defined in 15 U.S.C. § 1692a(3)
of the FDCPA, as he is a natural person improperly sued in the attempt to collect
a consumer debt allegedly owed on a HSBC Banl< Nevada N.A./Best Buy credit
card used for personal, family, or household purposes SYREETA LEWIS is a
. “"person as that term is defined by the MCDCA and the MCPA.

16. ‘Defendant PoRTFoLio RECOVERY Associai‘ss, LLC, is

ergemzed under Deiewar_e law. `PoRTFoLIo ancovnai' As'sociarr.s, LLc is

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registered to do business in Maryland and is licensed as a debt collector in
Maryland. POR.'-I'FOLIO RE¢OVERY ASSOCLATES, LLC is regularly engaged, for l
` prciit, in the collection of debts allegedly owed by consumersl which it purchases |
after these debts have gone into default I_’ORTFOLIO RECOVEItY ASSOCIATES,
LLC uses the United States Mail in furtherance of its collection of debts alleged to A
- be due eneiher. 1112012, PoRTFoLio RscovnRY AssoCIATES, LLC retained
counsel to tile approximately 6,3-28 debt collection lawsuits in the State of
Maryland.
17. _At all relevant times Defendant acted as a “debt collector” within the
- meaning et 15 U..sc. § 1692e(6) ef the FDCPA. PoRTFoLIo RncovnRY 1
ASSOCIA'i`ES, LLC- is not a creditor of SYREETA LEW"IS, but rather is a debt ` . o
buyer attempting to collect a consumer debt in default that it alleges is owed by
‘ . _ svanara_ stis.' n n
18. At all relevant times Defendant acted as a “collector” and “pers-on’_’ as
those terms are deiined by Md. Code Ann., Com. Law, § 14-201[b) of the '
McncA. l '
19. n The acts of Defendant alleged herein were performed by their

respective employees acting within the scope of their actual _or apparent

 

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MHHH=°° A. The Distr'ict Court ofMaryland Process.

l 20. 1 The District Court of Maryland was created by an amendment to the

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Maryland Constitution and came into existence on July 5, 197i; In civil cases the
District Court has exclusive jurisdiction in claims for amounts up to $5,000 and
concurrent jurisdiction with the Circuit Courts in claims for amounts above
$5,000 _but less than '$3o,ooo.

21. The DistIict_Court is a_statewide court with 34 locations in 12

districts, and a staff including 107 judges The Cou_rt hears disputes relating to

landlord tenant matters, civil claims and criminal charges
_ 22. The workload of the District Court has seen tremendous growth

since‘its inception in 1971. In its first year, the Court processed just under

800,000 cases ; today,' more than two million cases are filed annually.

23 Most debt collection lawsuits are filed in the District Court and, far
too often, result in default judgments in favor of the party bringinglthe lawsuit _

when the defendant is unable to-afford legal representation and fails ito appear v

. and defend the action.

24. Statistics published for Fiscal Year 2010 show that of the 300,453‘
total judgments entered, 247,435 (or roughly 82%_) were not contested.' _

25. The practice and procedures relating to the Maryland District Courts - ‘
are established in Title 3 of the Maryland Rules. n

26. ln the typical collection case, a defendant has fifteen days after being
served with the summons and complaint to file a Notice of lntention to Defend

explaining why he or she should not be required to pay the money the complaint

alleges is owed- If _a Notice of Intention to Defend is not iiled, na streamlined

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process exists for obtaining a judgment based upon an affidavit
27. Maryland Rule 3-?,06 governs this process and allows the plaintiff in

a collection action to include a demand for judgment on affidavit with the _

complaint

B. Debt_ Buyers Lack the Evidenc_e Required by Ru[e
3-306.

28. One outgrowth of the global nnancial crisis has been an increase in

n the volume of accounts that are sold to debt buyers such as_ PORTFOLIO

RECOVERY A'SSOCIATES, LLC. Such sales occur only'after the original creditor
has made the business decision to sell all right, title and interest in the account,`
. . ]_

rather than outsource the collection or pursue the collection.themselves. Thus,

when a debt buyer is involved, the original creditor has already decided that the

~ account is not worth pursuing, which is why the accounts are sold for pennies on

the dollar.

29. Debt buyers frequently_lack the documentation to prove the terms 7

and conditions of underlying obligation, and also'lack the proof necessary to

show the entire chain of assignment of the debt Once the original creditor sells
the account for pennies on the dollar, it does not want to be bothered with it
again because it no longer has any iinancial interest in the account For this
reason, almost every agreement between original creditor and initial debt buyer l
purchaser (and between the original'debt buyer purchaser and each subsequent

assignee) is made without representations and warranties, and without recourse.

 

 

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3o. n The debt buyers have adopted a business model, purvsuant te which
they buy large numbers of charged off consumer accounts for pennies on the
dollar and then die lawsuits without first-conducting a proper investigation into _
whether a legal basis exists for pursuing a claim. Unc_ler this approach cases are
all too often: 1) iiled against a person who rs not the dcbtor; 2) died outside the
applicable statute of limitations; and 3] filed m an improper venue. _

31. n The Court of Appeals of Maryland concluded that the overall lack-ot -_

proof in debt buyer cases often leads to dubious judgments entered by default,-

' and on September 8, 2011, made major changes to Rule 3-306 to become

effective with cases filed after 'Januar_v 1, 2012. ln the words of the Hon. Alan _ .
Wilner in his report to the Maryland Cour_t of Appeals:

The problem, which has been well documented by judges, the -
few attorneys who represent debtors, and the Commissioner of
Financial Regulation, is that the [debt buyer] plaintiff often
has insuflicient reliable documentation regarding the debt or
the debtor and, had the debtor challenged the action, he or she
would have prevailed In many instances, when a challenge is
presented, the case is dismissed _or judgment is denied ln
thousands of instances, however, there is no challenge, and
judgment is entered by default -

32. Judge >Wilner’s observation was validated by the industry itself.

Speciiically, in `a January 19, 2011, letter to the Rules Committee,`industry

representative ACA Inter_national stated its concern about the requirement that a

debt buyer must provide the court with “a certified or otherwise properly

authenticated photocopy of original of certain documentation establishing prootl l

the consumer debt at issue eadsted.”

 

 

 

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33. The reason the industry opposed‘the requirement of “proof the
consumer debt at issue existed” is because, in their own wordsi 5

The above documentation is often unattainable for `a variety of
reasons, the most important of which is that the original
creditor no longer has the information or did not have it when
selling an account or turning the account over for collection
Particularly' 111 the context of credit cards, financial institutions
are not required under federal law to maintain this type of
information beyond two years.

34. The argument presented by the industry was, in.essence, that (1)

because the original creditors do not have the documentation; and (2) because

federal law does not require that the original creditors keep their records; '

l therefore (3) the debt_buyer industry should not be required to comply with the -

same rules of evidence that govern disputes of every other litigant who comes
before the Court. No other type of plaintiff can successfully sue for breach of
contract without offering certified or otherwise properly authenticated evidence.

Yet, this is precisely what is attempted every day,by' debt buyers, such as

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35. The amendments to Rule 3-306 that apply to new complaints filed
after January 1, 2012 clarified the evidentiary requirements that a debt buyer
must meet when seeking a judgment on affidavit -

_ a. Rule 3-306(c) provides general requirements for all plaintiffs

seeking judgment on afddavit. Some of its requirements include that the

affidavit (1) be made on Lmr§o_nallmonlstdge; (2] set forth such facts as would be

admissible in evidence; (3) show affirmatively that the affiant is competent-to

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testify to the matters stated in the affidavit

b. '.Rule 3-3_06(d) provides additional rules for claims that arise .
from consumer`debt and the plaintiff is not the original creditor. Under Rule
3-306(d) the debt buyer must: _

4 i. Prove the existence of the debt by a certified_or
o_therwe_pmp_e;lmuthcub_eated photocopy or 'briginal of at.least one of the
following: (A) a document signed by the defendant evidencing the debt or the
opening of_the account; (B) a bill or other record reflecting purchases, payments,
or other actual use of a credit card or account by the `defendant; or ((l) an -
electronic printout or other documentation from the original creditor
establishing the existence of the account_and showing purchases, payments, or
other actual use of a credit card or account by the defendant; l

ii. Prove the terms and conditions to which the consumer
debt was subject, by producing a certified or otherwise properly authenticated
photocopy or original of _the document actually applicable to the consumer debt
at issue; - l

g iii. Prove that it owns the consumer debt at .`issue_ by
providing a chronological listing _of the names of all prior owners of the debt and
the date of each transfer of ownership of the debt, beginning with the name of the
original creditor; anda_cenjiiednnothenpfop_echmulhenli§etedcopy of the bill of
sale or other document that transferred ownership of the debt to each successive

owner. Specifically, the committee note to Rule 3-306 requires that the Bill of

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Sale or other document provide the general terms of the,ownership transfer and

_ the document’s specific reference to the debt sued upon;

iv. ` Identify the nature of the debt or account by including

in the affidavitthe following information: (A) the name of the original creditor;' '

(B) the full name of the defendant as it appears on the`original account; [C) the
last four digits of the social security number for the defendant appearing on the
original account, if known; (D) the last four digits of the original account number;

and (E) the nature of the consumer n'ansaction, such as utility, credit card,

_ consumer loan, retail installment sales agreement, service, or future services; and
v. The debt buyer must provide information relating to any `
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-buyer. b

36. Proof of these items has always been required to obtain a judgment

The amendment was put in place to provide an evidentiary checklist for_

' practitioners and judges and provide protection to debtors Who do not challenge

or defend the claims from having a judgment entered by default that is not

supported by legally sufficient evidence establishing the plaintiffs entitlement to

relief and damages

C. Defendant Attempts to Collect a Debt by Fr'h'ng a
Laws'ur`t against Syreeta Lewis in the Dish'r'ct Court
of Maryland using false, deceptive, misleading
unfair and unconscionable tactics.

37. on or about July 3, 2012, PoRTFoLro RnCovERY AssoclATEs',

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LLC nled a-complaint seeking a judgment in then amount of $1,755.89 against '.
SYREETA LEWiS_ for allegedly failing to pay a debt owed to HSBC Bank Nevada`

N.A/Best Buy. This alleged debt will hereinafter be referred to as the ‘Tsubject

debt,”

» 38. The subject debt is a “debt” as that term is'defined by .15 U S. C. §

1692a(5) of the FDCPA, as it allegedly arose out of a credit card account that was

used primarily for personal family, or household purposes

39. _ The subject debt` rs a “oonsumer transaction” as' that term is defined

by Md. Code Ann., Com. Law, § 14-201(c) of the MCDCA.

40. In support 'of the claim of ownership of the'debt allegedly owed to
HS_BC sank Neveda N.A/Besr Buy, PORTFOL10 RncovERY Assocmrss, LLC
filed a single Bill of Sale, titled “Assignment and Bill of Sale. ” ` d

41. The “Bi]l of Sale” attached to the Complaint' 1s legally hisufiicient to
prove ownership of the debt because it fails to mention SYREETA LEWIS or her

alleged account anywhere in the document ln addition, the Bill of Sale is a

fragment of a larger document because i_t references a “Purchase and Sale`

Agreement" and an “Exhibit A” not contained` m the complaint and therefore did

not provide the general terms of the Bill of Sale. The document also fails to

establish that any account allegedly relating to SYREETA LEWIS was included in l

these additional documents

42;`, All documents attached to the complaint, including th_e‘Bill of Sale

_ were not certified`or properly authenticated as required by Rule 3-306(d).

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speeiaoeuy, PoRTFouo lincova Assocrerss, rfc‘provided _no_ affidavit

from the original creditor certifying or properly authenticating these documents

43. Without such documentation, the attorney that signed that
complaint filed by POR'l`FOLIO RECOVERY ASSOCIATES, LLC in the District
Court of Maryland for Baltimore City could not establish that a meaningful

review of the debtor’ s file occurred before filing suit Moreover, M. Pilar Gracia,

' the attorney who signed the complaint against SYREETA lEV\HS on behalf of

PORTFOLIO RECOV`_E.RY ASSOCIATES, LLC has also signed approximately
35519 other complaints during 2012 based on a public Maryland Judiciary Case _

Search query of attorneys of record. This includes approximately 274 complaints

in December 2012 (the complaint against SYREETA LEWIS was filed _December

3,2o12).
44. The affidavit judgment checklist provided with the complaint

pursuant to 3-306(d) was signed by Cristina Patterson, who purported to be the

` custodian of records for PORTFOLIO RECOVERY 'ASSOCIATES, LLC.

' 45. Cristina Patterson falsely claimed‘ ‘under the penalties of perjury and
upon personal knowledge that the contents of this Aflidavit and Checklist are true
and correct” This statement was false because Cristina Patterson, as alleged
custodian of record for PC_JRTF_OLIO RECOVERY ASSOCIATES, LLC, could not 1
have personal "knowledge of the records of the original creditor. Cristina
Patterson was not an employee of the original creditor and could not have

personal knowledge of the procedures under which the original creditor created

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the records 1
46. PORTFOLIO RECOVERY ASSOCIATES, LLC checked boxes
required on the affidavit judgment checklist despite not attaching information ‘ -

that complied with the checklist’s requirements Thus, in checking these boxes

` Poa'rrol.lo REco`vnnY Assoclsres, LLc_ falsely claimed that rt lied`eupplted

the required information when it had not. w

47. By-basing its claim on these incomplete and.una-uthenu`cated hearsay
documents and accompanying false affidavit, PORTFOLIQ _RECOVERY
A_ssocntrns, LLC e'ced_ sYnasrA strs with the hepe'ef eliciting en etadevit
judgment or inducing a settlement with SYREETA LEW_IS when it knew or
shouldl have known that it did not possess the evidence necessary under
Maryland Rule 3-306 to support its claim and that it attached a false affidavit

48. SYR]_E`.ETA LEW”IS was actually deceived by the complaint filed by h

PORTFOLIO_ RECOVERY ASSOCIATES`, LLC. Upon being served with the

- deceptive cemple_lnt, ehe believed that roRTFol.lo RECOVERY AssociATEs,

LLC had complied with the checklist’s_ requirements 'and thus had done
everything that was necessary under rule 3-306(d) to obtain a judgment against
her. n

49. On or about January 3, 2012,- after being deceived by PORTFO'LIO

'RECOVERY ASSOCIA'IES, 'LLC,- SYREETA LEWIS called PORTFOLIO

RECOVERY ASSOCIATES, LLC on the telephone to establish a payment plan.

she else called Pon'rFoLl__o RECOVERY Assoclarns,' LLC en et ebeut'lenuery

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12, 2013 in an attempt to establish a payment plan. After verbally agreeing to a

payment plan, SYREETA_LEWIS made a payment of $247.18 with the mistaken
belief that Polrrrollo RECo_vERY AssoclA'rEs, LLC proved everything_it'

needed te in etder te `ebteln en efedevlt judgment pursuant te Rnle general
50. neeplte sYasE'rA Lr.wis’s assent te a payment plan, PoRTFoLlo

RECOVERY ASSOC]`ATE.S, LLC did nothing to dismiss the lawsuit it filed against

her m the District Court for Baltimore City. Because PORTFOLIO RECOVERY

ASSOCIATES, LLC continued the lawsuit against SYREETA LEWIS, she was

forced to appear in court on February 4, 2013, Though SYREETA LEWIS v-
appeared on this day, PORTFOLIO RECOVERY ASSOCIA'I`ES, LLC did not. '

l _Thus, PORTFOLIO RECOVERY ASSOClATES, Li.C continued its lawsuit against

SYREETA LEwlS in the hope that she would not appear in court on February 4,
2013, and then PO_RTFOLIO RECOVERY ASSOCIATES, LLC could obtain a
binding affidavit judgment by her failure to appear rather than have an oral
settlement agreement l

51. POR'I'FOLIO RECOVERY ASSOCI_ATES, LLC’ s filings 111 this case are
part of a pattern of practice or conduct designed to circumvent Maryland Rule

3-306 and obtain affidavitjudgments when_consumers are deceived into thinking

that PORTFOLIO RECOVERY ASSOCIATES, LLC has done all that i_s required to
obtain a judgment in the debt collection lawsuit against them. _Based onl
'Uomadon and belief, many PORTFOLIO RECOVERY ASSOCIATES, LLC

ii]ings made since the R_ule 3-306 clarifications went into effect suffer from the

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same or similar flaws as described above.
` . 52. These subtle but important flaws constitute unscrupulous practices

that have allowed PoarFoLlo REcovERY Assocra"rns, LLc'to gain a

competitive advantage since the Rule 3-306 ~clarificatio'ns. Since these

clarifications went into effect on January 1, 2012 through the end of that year,

PoanoLlo ‘Rscovr.nv AssocrAr_ns, LLC aled approximately 6,328

complaints in Maryland_State District Court. While many debt buyers have

-dr_astically'reduced their filings since the rule clarifications went into effect,

POR'I'FOLIO RECOVE_RY ASSOCLATES, LLC’s 201_2 filings actually representan _

__ increase in filing volume over previous years. This means that POR'I'_E`OLIO

A'SSOCIATES,` LLC's filings have also significantly increased relative ~to its
competitors _
1).' Defendont communicates Wt't!_r sYREETA 'La'ms
W'hen Defendant Knew SYREETA _LEI/VIS Was `
Represented By Undersigned Counsel. -

_53. O_n February 12, 2013, SYREETA LEWIS retained undersigned

. counsel.

54. On __February 14, 2013, undersigned counsel filed an EntIy of
Appearance, an Amended Notice of Intention to Defend, and a Demand for Proof
(pursuant to Md. Rule 3-308) m the pending action against SYREETA LEWIS m` "
the District Court of Maryland for Baltimore City.

55. On'February 14, 2013, these same three pleadings were served

.Priority first class mail, postage pre-paid to PORTFOLIO RECOVER_Y_

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ASSOCIATES, LLC,

56. These three pleadings were docketed by ther District Court of.'
Maryland for Baltimore City on February 15, 2013.

57. POR'I`FOI.IO RECOVERY ASSOCIATES, LLC had knowledge that
SYRlEETA LEWIS was represented by an attorney with respect to the subject debt
and had knowledge of _ the attorneys’ names and address Despite such
knowledge, PORTF_OLIO RECOVERY ASSOCIATES, LLC communicated directly v
with SYREETA LEWIS on March 4, 2013 by sending her a settlement agreement

E. Pfal'nta)°$q@°ere¢f Actual Dantrlges.

58. A_s a direct consequence of the acts, practices and conduct of
Defendant, SYREETA LEWIS suffered and continues to suffer from
inconveni_ence, emotional distress, loss of sleep, embarrassment and humiliation.

' coUNT 1 7

Vi-olation of the Fair Debt Collection Practices` Act

59. .‘ SYREETA LEWIS incorporates by reference the allegations '
contained' m the above paragraphs of this Complaint as if fully set forth herein.

60.- PO_RTFOLIO RECOVERY ASSOCIATES, LLC used false, deceptive,
or misleading representations or means in connection with the collection of the
subject debt in -violation of 15` U.S.C. § 16_929. PORTFOLIO RECOVERY
ASSOCIATES, LLC filed the complaint `againstSYREETA LEWIS using a false,

improper Rule 3-306 affidavit and Without certified or otherwise properly

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authenticated evidence The debt collection complaint-, the false and improper
Rule 3»306 aiiidavit and the bill of sale attached thereto had a tendency to
mislead the least sophisticated consumer into concluding that PORTFOLIO
R.E_`.COVERY ASSOCIATES, LLC had done all that was necessary to obtain a court
judgment against them.

61. PORTFOLIO RECQVERY ASSOCIATES, LLC used false, deceptive,

or misleading representations or means in connection 'with the collection of the

' subject debt in violation of 15 U.S.C, § 1692e(2)(A). The debt collection

complaint, the improper and false Rule 3~§06 affidavit and bill of sale attached
thereto, as well as the failure to provide certified or otherwise properly `
authenticated evidence, falsely represented the character or legal status of the
subject debt and had a tendency to mislead the least sophisticated consumer into
concluding that PORUOHO RECOVERY ASSOCI.ATES,"LLC had done all that
was necessary to obtain a court judgment against them.

62._ PORTFOLIO R_ECOVERY ASSOCIATES, LLC used decepti_ye means '
to attempt to collect the subject debt in violation of 15 U._S.C. § 1692e[1o). The

debt collection complaint, the improper and false Rule 3-306 affidavit and bill of

n sale attached thereto, as well as the failure to provide certified or otherwise

properly authenticated evidence, were deceptive and had a tendency to mislead

the least sophisticated consumer into concluding that PORTFOLIO RE,COVERY
ASSOCLATES, LLC had done all that was necessary to obtain a court judgment

against them. ‘

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63.' PoRTFoLIo RECovanY AssooiATEs, .LLC used unfair and

unconscionable means to attempt to collect the debt in violation of 15 U.S.C. §

1692f. The debt collection complaint, the improper and false ltule 3-306 affidavit l

and bill of sale attached thereto, as well as the failure to provide certified or

‘ otherwise properly authenticated _evidence, had a tendency to mislead the least

sophisticated consumer into concluding that 'PORTFOLIO RECOVERY

' ASSOCIATES, LLC had‘done all that was necessary to obtain a court judgment

_ against them.

64._ PoRTFoLio RECovsRY Associarss LLC also used unfair aaa

unconscionable means to attempt to collect the subject debt in violation of 15

U.S.C. § 1692f in forcing SYR.EETA LEWIS to appear in court or else have an

affidavit judgment entered against her when SYREETA LEWIS_had already .

. begun to perform under a settlement agreement with PORTFOLIO R.ECOVERY '

Assocnn"as, LLc.'
65. PoRTFoLio. RECOVERY AssociATEs, LLC used unfair and

unconscionable means to attempt to collect the subject debt in violation of 15

U.s.c. _§ 1692'£(1`). PoaTFoLto nncovaav AssociATss,' LLc’a attempt ia

collect the subject debt was not authorized by law because the debt collection `

complaint, the improper and false Rule 3-306 affidavit and bill of sale attached
thereto, as well as the failure to provide certified or otherwise properly
authenticated evidence, had a tendency to mislead the least sophisticated

consumer into concluding that PORTFOLIO RECDVERY ASSOCLATES, LLC had

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done all that was necessary to obtain acourt judgment against them.
. 66.‘ PORTFOLIO RECOVERY ASSOCIATES, LLC violated 15 U. S..C "§
1692c when it communicated with SYREETA LEW]S when PORTFOLIO

RECOVERY ASSOCIATES, LLC knew SYREE'-I'A LEMS was represented by an

attorney with respect to the subject debt and had knowledge of such attorney’s -

name and address

j 67. -The false and deceptive conduct alleged herein was material
PoRTFoLio ascov_nRY_ Assocta'rss, LLC sued s`YREETA rams with the '
hope of obtaining an affidavit judgment or inducing a settlement when it knew or '
ahaula have known that a ana au improper aaa false auia 3_3es areeda aaa
bill of sale attached thereto, as well as the failed to provide certified or otherwise ' _
properly authenticated evidence, attached a false aflidavit, and did not possess
the evidence necessary under Maryland Rule_3-306 to support its claim. The false "
and deceptive conduct alleged herein had the tendency to mislead an j
unsophisticated consumer into concluding that PORTFOLIO RECOVERY
ASSOCIATES, LLC had done all that was necessary to obtain a court judgment
against them. n l l

68. As a direct consequence of the acts, practices and conduct of

PORTFOLIO RECOVERY ASSOCIATES, LLC, SYRE.ETA LEWIS suffered . ` '

inconvenience emotional distress, loss of sleep, embarrassment and humiliation.

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COUN'I` II

Violation of the Maryland Consumer Debt Collection Act` 7
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69. SYRE.ETA _LEWIS incorporates by reference the allegations
contained inthe`above paragraphs of this Complaint as if fully set forth herein

70. The subject debt was a debt which was primarily for personal, family,

1 or household purposes and is therefore a “consumer transaction” as that term is

v deflned by the MCDCA§ 1

71. PoR'rFoLio RECovE.RY Associarns, LLC attempted to enforce a _
right with knowledge that the right does nor ann in uoiauon of Md. code Anu.,

Com. Law. § 14~201(8). PORTFOLIO RECOVERY ASSOCIATES, LLC filed the

n complaint against SYREETA LEWIS with an the improper and false Rule 3-306

affidavit and bill of sale attached thereto, as well as failed to provide certified or `
otherwise properly authenticated evidence, which had a tendency to mislead the -
least sophisticated consumer into concluding that PORTFOLIO RECOVERY
ASSOCLATES, LLC had done all that was necessary to obtain a court judgment
against them. l l l

72. As a direct consequence of the acts, practices 'and conduct of '
PoRTFoLio RecovERY Assoclarns, Li.o, vsvnanra t._EwIs suffered
inconvenience, emotional distress, loss ofsleep, embarrassment and humiliation
and is therefore entitled tol actual damages pursuant to Md. Code. Ann., Com.

Law. § 14~203 from Defendant.

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COUNT III

Violation of the Mar_yland Consumer Protecfion Act
n . w - 1

73. " SYREETA LEWIS incorporates by reference the allegations

y contained in the above paragraphs of this Complaint as if fully set forth herein '

74. SYREETA LEWIS is a consumer as defined by the CPA, Md. -Code

Ann., Com. L. § 13-101(c).

75. Section 13_-303(1)_ of the CPA prohibits unfair or deceptive trade j

practices in the sale of consumer goods and the extension of consumer credit
76. Under '§ rg-go'r(re)(u'i) _ef the cPA, unfair er deeepdre trade

practices also include any violation of the MCDCAN

77. As a direct consequence of the acts, practices and conduct of ,

.PoRrFoLro REoovssY nssocre'rss, LLC, sYRnETA stls suffered

inconvenience, emotional distress, loss of sleep, embarrassment'and humiliation
and is entitled to actual damages and attorney’s fees pursuant to CPA § 13-408.
noissnsosa, Piejnttff,_ sYREETA strs,_ respectfully prays fer a
judgment against Defendant as follows:
a.r Actuai damages pursuant to 15 U.S.C. § 1692k(a}[i); Md. Code.
Ann., Com. Law. § 14-203; and Md. Code_Ann., Com. Law§ 13-408 inthe amount
of $3o,ooo.oo; -
_ b. Statutory' damages of $1,000.00 pursuant to r5 lJ.S.C. §
1692kra)c2)cn); '

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c. Costs of litigation and reasonable attorney s fees pursuant to
15 U.S.C. § ,1692k(a)(3) and add Code Ann., Com. Law§ 13-408; and

d. For such other and further relief as may be just and proper.

J_UBY_DM
SYREETA LEWIS hereby demands a trial by jury on all issues in this

action,_ except for_any issues-relating to the amount of attorneys fees and n
litigation costs to be awarded should SYItEETA LEWIS prevail on any of her
claims in this action. n

Dated: March 19,2'013 _ ' Respectfully S_ubrnitted,

 

ii ‘D w~_/

E. David-Hosl<ins, Esq. '

.THE ILAW OFFrCEs _0F F. Dnvm HosKINs, LLC
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Max F. Br_auer, Esq: No. 11306 -
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